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 8 and Wissam Shaya, M.D.
 9                       UNITED STATES DISTRICT COURT
10         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
11
   BALBOA CAPITAL CORPORATION,                   Case No. 8:21-cv-00831
12 a California Corporation,
13
                Plaintiff,                       ANSWER AND COUNTERCLAIM
14
                                                 FOR:
15 vs.
16                                                 1. Unfair Competition (B&P Code
   SHAYA MEDICAL P.C. INC., a Florida                 section 17200, et seq.)
17 corporation; WISSAM SHAYA, an                   2. Fraud
18 individual; and DOES 1 through 10,              3. Rescission
   inclusive,                                      4. Declaratory Judgment
19
20              Defendants.
21 _________________________________
22                                                      Demand for Jury Trial
   SHAYA MEDICAL P.C. INC., a Florida
23 corporation and WISSAM SHAYA,
24 M.D., an individual,
25
                Counterclaimants,
26
     vs.
27
28
     ____________________________________________________________________
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 1 BALBOA CAPITAL CORPORATION,
   a California Corporation; CYNOSURE,
 2
   LLC, f/k/a Cynosure, Inc., a limited
 3 liability company,
 4
                 Counter-defendants.
 5
 6
 7
 8         Defendants SHAYA MEDICAL P.C. INC., and WISSAM SHAYA, M.D.
 9 (collectively, the “SHAYA PARTIES” or “DEFENDANTS”), appearing by and
10 through their counsel of record, answer the complaint of BALBOA CAPITAL
11 CORPORATION (“BALBOA CAPITAL” or “PLAINTIFF”) as follows and deny
12 every allegation not given a specific response below:
13                           PRELIMINARY ALLEGATIONS
14         1.    Answering paragraph 1, the SHAYA PARTIES admit the allegations.
15         2.    Answering paragraph 2, the SHAYA PARTIES admit the allegations.
16         3.    Answering paragraph 3, the SHAYA PARTIES admit the allegations.
17         4.    Answering paragraph 4, the SHAYA PARTIES admit the allegations.
18         5.    Answering Paragraph 5, the SHAYA PARTIES are without sufficient
19 knowledge or information to form a belief as to the truth of the allegations of that
20 paragraph and, on that basis, deny each and every one of those allegations.
21         6.    Answering Paragraph 6, the SHAYA PARTIES are without sufficient
22 knowledge or information to form a belief as to the truth of the allegations of that
23 paragraph and, on that basis, deny each and every one of those allegations.
24         7.    Answering Paragraph 7, the SHAYA PARTIES are without sufficient
25 knowledge or information to form a belief as to the truth of the allegations of that
26 paragraph and, on that basis, deny each and every one of those allegations.
27         8.    Answering paragraph 8, the SHAYA PARTIES admit the obligations
28 sued upon are commercial in nature. The remainder of the paragraph is a statement
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 1 of law to which no response is required but, in any event, the remaining allegations
 2 are denied.
 3         9.    Answering paragraph 9, the referenced document speaks for itself. The
 4 SHAYA PARTIES deny the referenced document contains a paragraph 25 and deny
 5 all other allegations of paragraph 9.
 6                              FIRST CAUSE OF ACTION
 7         (Breach of Equipment Financing Agreement Against SHAYA MEDICAL)
 8         10.   Answering paragraph 10, the SHAYA PARTIES reincorporate their
 9 responses to paragraphs 1-9.
10         11.   Answering paragraph 11, the SHAYA PARTIES admit receipt of a
11 document purporting to be executed by Balboa Capital on October 14, 2019, bearing
12 number 306705-000, and referencing monthly payments. The remaining allegations
13 set forth in paragraph 11 state legal conclusions to which no response is required. To
14 the extent a response is required to the remaining allegations in paragraph 11, such
15 allegations are denied.
16         12.   Answering paragraph 12, the SHAYA PARTIES are without sufficient
17 knowledge or information to form a belief as to the truth of the allegations in the first
18 sentence and, on that basis, deny those allegations. As for the remainder of the
19 paragraph, the SHAYA PARTIES deny that payments are due and owing to
20 BALBOA CAPITAL due to, among other things, BALBOA CAPITAL’s fraudulent
21 inducement, the SHAYA PARTIES’ mistake of fact, BALBOA CAPITAL’s exertion
22 of undue influence, and the unconscionability of any and all contractual provisions
23 PLAINTIFF is attempting to enforce.
24         13.   Answering paragraph 13, the SHAYA PARTIES admit BALBOA
25 CAPITAL emailed an Acceleration Demand Letter demanding immediate payment of
26 $241,264.22 from WISSAM SHAYA, who was erroneously identified as “LESSEE.”
27 The SHAYA PARTIES deny the remainder of the allegations in this paragraph.
28
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 1        14.    Answering paragraph 14, the EFA speaks for itself. The SHAYA
 2 PARTIES deny any late charges are due and owing and deny the remaining
 3 allegations of this paragraph.
 4        15.    Answering paragraph 15, the SHAYA PARTIES are without sufficient
 5 knowledge or information to form a belief as to the truth of the allegations in the first
 6 sentence and, on that basis, deny those allegations.
 7        16.    Answering paragraph 16, the SHAYA PARTIES deny the allegations.
 8        17.    Answering paragraph 17, the SHAYA PARTIES deny the allegations.
 9                             SECOND CAUSE OF ACTION
10        18.    Answering paragraph 18, the SHAYA PARTIES reincorporate their
11 responses to paragraphs 1-17.
12        19.    Answering paragraph 19, admit the EFA is a document containing terms
13 that speak for themselves. The remaining allegations set forth in paragraph 19 state
14 legal conclusions to which no response is required. To the extent a response is
15 required to the remaining allegations in paragraph 19, such allegations are denied.
16        20.    Answering paragraph 20, the SHAYA PARTIES admit BALBOA
17 CAPITAL demanded “return of the Equipment.” The remaining allegations set forth
18 in paragraph 20 state legal conclusions to which no response is required. To the
19 extent a response is required to the remaining allegations in paragraph 20, such
20 allegations are denied.
21        21.    Answering paragraph 21, the SHAYA PARTIES deny the allegations.
22                              THIRD CAUSE OF ACTION
23                     (Breach of Guaranty against Defendant SHAYS)
24        22.    Answering paragraph 22, the SHAYA PARTIES reincorporate their
25 responses to paragraphs 1-21.
26        23.    Answering paragraph 23, the SHAYA PARTIES admit DR. SHAYA
27 signed a document purporting to be a guaranty, the terms of which speak for
28
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 1 themselves, and admit BALBOA CAPITAL attaches a document as Exhibit “1” that
 2 appears to be a copy of the guaranty. The remainder of the allegations are denied.
 3        24.    Answering paragraph 24, the SHAYA PARTIES deny there has been a
 4 default and deny that payments are due and owing to BALBOA CAPITAL due to,
 5 among other things, BALBOA CAPITAL’s fraudulent inducement, the SHAYA
 6 PARTIES’ mistake of fact, BALBOA CAPITAL’s exertion of undue influence, and
 7 the unconscionability of any and all contractual provisions PLAINTIFF is attempting
 8 to enforce. The SHAYA PARTIES admit BALBOA CAPITAL emailed an
 9 Acceleration Demand Letter demanding immediate payment of $241,264.22 from
10 WISSAM SHAYA, who was identified as “PERSONAL GUARANTOR.”
11        25.    Answering paragraph 25, the SHAYA PARTIES deny the allegations.
12        26.    Answering paragraph 26, the SHAYA PARTIES state the terms of the
13 Guaranty speak for themselves. The remaining allegations set forth in paragraph 26
14 state legal conclusions to which no response is required. To the extent a response is
15 required to the remaining allegations in paragraph 26, such allegations are denied.
16 The SHAYA parties further deny BALBOA CAPITAL is entitled to an award of
17 attorney’s fees.
18                            FOURTH CAUSE OF ACTION
19                         (Indebtedness Against All Defendants)
20        27.    Answering paragraph 27, the SHAYA PARTIES reincorporate their
21 responses to paragraphs 1-26.
22        28.    Answering paragraph 28, the SHAYA PARTIES deny the allegations.
23                             AFFIRMATIVE DEFENSES
24                               First Affirmative Defense
25                                 (Failure to State a Claim)
26        One or more causes of action in CICA’s Complaint fail to state facts sufficient
27 to constitute a cause of action under California law.
28
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 1                               Second Affirmative Defense
 2                     (Insufficiency of Process – Defect in Summons)
 3 WISSAM SHAYA, M.D. was not properly served with a summons directed to him.
 4                                Third Affirmative Defense
 5                                     (Improper Venue)
 6         The SHAYA PARTIES are citizens of Florida, and the complaint seeks to
 7 enforce against these Florida citizens an agreement entered into in Florida and
 8 involving a Florida financing transaction for the purchase of goods to be delivered in
 9 Florida. Any forum selection clause that may otherwise govern the venue in this
10 action is unreasonable and fundamentally unfair, was not reasonably communicated
11 to the SHAYA PARTIES prior to them signing any agreement with said clause, and
12 was obtained as the result of fraud. Accordingly, such clause is unconscionable and
13 unenforceable. Furthermore, the agreements themselves are unconscionable and
14 subject to rescission such that any forum selection clause contained therein is also
15 unenforceable. Thus, there is no applicable, enforceable forum selection clause that
16 would make venue proper in the Central District of California.
17                               Fourth Affirmative Defense
18                                   (Inconvenient Forum)
19         The SHAYA PARTIES are citizens of Florida, and the complaint seeks to
20 enforce against these Florida citizens an agreement entered into in Florida and
21 involving a Florida financing transaction for the purchase of goods to be delivered in
22 Florida. The bulk of the witnesses in this case are located in Florida. The Court
23 should transfer this case to Florida for the convenience of the parties and the
24 witnesses and in the interest of justice.
25 / / /
26 / / /
27 / / /
28 / / /
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 1                                Fifth Affirmative Defense
 2                           (Failure to Join Indispensable Party)
 3         This case should be dismissed because BALBOA CAPITAL has not and cannot
 4 join a party without which the Court cannot accord complete relief among existing
 5 parties.
 6                                Sixth Affirmative Defense
 7                           (Unilateral Mistake of Material Fact)
 8         No contract was created because the SHAYA PARTIES were mistaken in
 9 believing that (1) the SculpSure device would be well-tolerated by the SHAYA
10 PARTIES’ patients and impose minimal pain; (2) the accompanying marketing
11 campaign would be effective and result in the referral of multiple patients per month;
12 (3) the machine would “pay for itself,” i.e., it would generate sufficient revenue to
13 cover the payments on the machine; and (4) the machine would generate additional,
14 much-needed revenue. BALBOA CAPITAL knew the SHAYA PARIES were
15 mistaken regarding these material facts and used that mistake to take advantage of the
16 SHAYA PARTIES and to cause them to sign the EFA and Guaranty. The SHAYA
17 PARTIES’ mistake was not caused by their excessive carelessness, and the SHAYA
18 PARTIES would not have agreed to enter into the contract if they had known about
19 such mistakes.
20                              Seventh Affirmative Defense
21                                    (Undue Influence)
22         No contract was created because BALBOA CAPITAL used the SHAYA
23 PARTIES’ financial needs and financial distress to induce or pressure them into
24 consenting to the EFA and Guaranty, and the SHAYA PARTIES would not have
25 otherwise have consented.
26 / / /
27 / / /
28 / / /
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 1                               Eighth Affirmative Defense
 2                                          (Fraud)
 3        No contract was created because BALBOA CAPITAL obtained the SHAYA
 4 PARTIES’ consent by fraud. BALBOA CAPITAL represented that (1) the SculpSure
 5 device would be well-tolerated by the SHAYA PARTIES’ patients and impose
 6 minimal pain; (2) the accompanying marketing campaign would be effective and
 7 result in the referral of multiple patients per month; (3) the machine would “pay for
 8 itself,” i.e., it would generate sufficient revenue to cover the payments on the
 9 machine; and (4) the machine would generate additional, much-needed revenue.
10 BALBOA CAPITAL knew that these representations of material fact were not true.
11 BALBOA CAPITAL made the representations to persuade the SHAYA PARTIES to
12 sign the EFA and Guaranty. The SHAYA PARTIES reasonably relied on BALBOA
13 CAPITAL’s representations and would not have signed those contracts if they had
14 known these representations were not true.
15                               Ninth Affirmative Defense
16                                  (Contract of Adhesion)
17        The EFA and accompanying Guaranty are standardized contracts drafted by
18 BALBOA CAPITAL, a party of superior bargaining strength, and relegate to the
19 weaker, adhering parties, i.e., the SHAYA PARTIES, only the opportunity to adhere to
20 them or reject them. The SHAYA PARTIES only executed the EFA and Guaranty
21 after DR. SHAYA was relentlessly pursued and subjected to high-pressure tactics and
22 fraudulent representations employed to convince him to sign the agreements.
23 Although DR. SHAYA was provided with a copy of the EFA and Guaranty prior to
24 signing, he was unable to actually read them before signing due to the extremely
25 small font in which they are printed. The terms of the EFA and Guaranty do not fall
26 within the reasonable expectations of the weaker, adhering parties, i.e., the SHAYA
27 PARTIES, and, to enforce them as a whole, or to enforce certain terms contained
28 therein, would work on the SHAYA PARTIES an overly harsh and unduly oppressive
     ____________________________________________________________________
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 1 result. Accordingly, the EFA and Guaranty are contracts of adhesion that the Court
 2 should not enforce.
 3                               Tenth Affirmative Defense
 4                          (Unconscionability – Common Law)
 5        The EFA and accompanying Guaranty are standardized contracts which are
 6 largely illegible due to the extremely small font in which they are printed. The EFA
 7 was drafted by BALBOA CAPITAL, a party of superior bargaining strength, and
 8 relegates to the weaker, adhering parties, i.e., the SHAYA PARTIES, only the
 9 opportunity to adhere to them or reject them. They are, therefore, contracts of
10 adhesion. The SHAYA PARTIES only executed the EFA and Guaranty after DR.
11 SHAYA was relentlessly pursued and subjected to high-pressure tactics and
12 fraudulent representations and promises employed to convince him to sign the
13 agreements. Although DR. SHAYA was provided with a copy of the EFA and
14 Guaranty prior to signing, he was unable to actually read them before signing due to
15 the extremely small font in which they are printed.
16        Because he could not read them, little did DR. SHAYA know at the time that
17 the terms of the EFA and Guaranty are overly harsh and unduly oppressive and
18 inconsistent with California law. For example, the EFA states (1) BALBOA
19 CAPITAL may, in its sole discretion, charge up to thirty (30) days of “Prorated Rent”
20 (even though the EFA is not a lease agreement) and such Prorated Rent is not credited
21 against amounts owed as set forth in the payment schedule; (2) “[p]ayments may be
22 adjusted upward or downward by up to 10% to reflect actual costs” but no mention is
23 made of what “costs” would warrant such an adjustment; (3) BALBOA CAPITAL
24 may impose an origination fee and termination fee in unspecified amounts; and
25 (4) BALBOA CAPITAL may impose additional taxes and/or fees, including an
26 invoice fee, the amounts of which are unspecified, and such fees may not only cover
27 BALBOA CAPITAL’s costs “but may also include a profit.” While giving BALBOA
28 CAPITAL carte blanche to impose additional charges, taxes and fees without any
     ____________________________________________________________________
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 1 limitation, the EFA, inter alia, (1) purports to waive all of the Debtor’s defenses and
 2 counterclaims; and (2) states that, upon default, BALBOA CAPITAL is, inter alia,
 3 entitled to attorney’s fees “whether or not litigation is commenced” and “any actual
 4 or anticipated loss of federal or state tax benefits to Creditor (as determined by
 5 Creditor) resulting from Debtor’s default.” Furthermore, the EFA and Guaranty do
 6 not state the amount financed or the interest rate being charged. Their terms do not
 7 fall within the reasonable expectations of the weaker, adhering parties, i.e., the
 8 SHAYA PARTIES, and to enforce the contract or certain of its terms would work on
 9 the SHAYA parties an overly harsh and unduly oppressive result. In light of the
10 foregoing, the EFA and Guaranty are both procedurally and substantively
11 unconscionable and are unenforceable in whole or in part.
12                              Eleventh Affirmative Defense
13                   (Unconscionability - Cal. Civ. Code Section 1670.5)
14        The EFA and accompanying Guaranty are standardized contracts which are
15 largely illegible due to the extremely small font in which they are printed. The EFA
16 was drafted by BALBOA CAPITAL, a party of superior bargaining strength, and
17 relegates to the weaker, adhering parties, i.e., the SHAYA PARTIES, only the
18 opportunity to adhere to them or reject them. They are, therefore, contracts of
19 adhesion. The SHAYA PARTIES only executed the EFA and Guaranty after DR.
20 SHAYA was relentlessly pursued and subjected to high-pressure tactics and
21 fraudulent representations and promises employed to convince him to sign the
22 agreements. Although DR. SHAYA was provided with a copy of the EFA and
23 Guaranty prior to signing, he was unable to actually read them before signing due to
24 the extremely small font in which they are printed.
25        Because he could not read them, little did DR. SHAYA know at the time that
26 the terms of the EFA and Guaranty are overly harsh and unduly oppressive and
27 inconsistent with California law. For example, the EFA states (1) BALBOA
28 CAPITAL may, in its sole discretion, charge up to thirty (30) days of “Prorated Rent”
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 1 (even though the EFA is not a lease agreement) and such Prorated Rent is not credited
 2 against amounts owed as set forth in the payment schedule; (2) “[p]ayments may be
 3 adjusted upward or downward by up to 10% to reflect actual costs” but no mention is
 4 made of what “costs” would warrant such an adjustment; (3) BALBOA CAPITAL
 5 may impose an origination fee and termination fee in unspecified amounts; and
 6 (4) BALBOA CAPITAL may impose additional taxes and/or fees, including an
 7 invoice fee, the amounts of which are unspecified, and such fees may not only cover
 8 BALBOA CAPITAL’s costs “but may also include a profit.” While giving BALBOA
 9 CAPITAL carte blanche to impose additional charges, taxes and fees without any
10 limitation, the EFA, inter alia, (1) purports to waive all of the Debtor’s defenses and
11 counterclaims; and (2) states that, upon default, BALBOA CAPITAL, is inter alia,
12 entitled to attorney’s fees “whether or not litigation is commenced” and “any actual
13 or anticipated loss of federal or state tax benefits to Creditor (as determined by
14 Creditor) resulting from Debtor’s default.” Furthermore, the EFA and Guaranty do
15 not state the amount financed or the interest rate being charged. The terms of the
16 contract do not fall within the reasonable expectations of the weaker, adhering parties,
17 i.e., the SHAYA PARTIES, and to enforce the contract or certain of its terms would
18 work on the SHAYA parties an overly harsh and unduly oppressive result.
19 Accordingly, the EFA and Guaranty were unconscionable at the time they were made
20 and, therefore, the Court should refuse to enforce them, in whole or in part, under
21 Cal. Civ. Code Section 1670.5.
22                               Twelfth Affirmative Defense
23                     (Invalidity of EFA Excuses Guaranty Obligation)
24         DR. WISSAM SHAYA is excused from performing under the Guaranty
25 because, for reasons alleged above, the underlying EFA is unconscionable and,
26 therefore, unenforceable.
27 / / /
28 / / /
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 1                             Thirteenth Affirmative Defense
 2                                   (Failure to Mitigate)
 3         Although the SHAYA PARTIES deny they are liable to BALBOA CAPITAL
 4 for any reason and deny that BALBOA CAPITAL suffered any damages whatsoever,
 5 the SHAYA PARTIES allege, alternatively, that if BALBOA CAPITAL suffered any
 6 damages as a result of any act and/or omission of the SHAYA PARTIES, such
 7 damages could and should have been mitigated by reasonable efforts on the part of
 8 BALBOA CAPITAL. Due to BALBOA CAPTAL’s failure to take reasonable steps to
 9 prosecute and/or defend its interests, including immediately collecting and liquidating
10 the subject collateral in order to eliminate or reduce any alleged indebtedness, its
11 damages have been exacerbated wholly due to its own fault and that of its agents,
12 employees and attorneys, and therefore it is barred from obtaining recovery from the
13 SHAYA PARTIES for any such damages.
14                             Fourteenth Affirmative Defense
15                                          (Set-off)
16         Although the SHAYA PARTIES deny they are liable to BALBOA CAPITAL
17 for any reason and deny that BALBOA CAPITAL suffered any damages whatsoever,
18 the SHAYA PARTIES allege, alternatively, that if an indebtedness is found to be due
19 and owed, then that indebtedness should be eliminated or substantially reduced
20 because the SHAYA PARTIES are entitled to set-off or recoupment against BALBOA
21 CAPITAL.
22                              Fifteenth Affirmative Defense
23                   (Reservation of Right to Assert Additional Defenses)
24         The SHAYA PARTIES presently have insufficient knowledge or information
25 upon which to form a belief as to whether they may have additional, as yet unstated,
26 affirmative defenses available. Therefore, they reserve their rights to assert additional
27 affirmative defenses in the event discovery indicates they would be applicable.
28 / / /
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 1                                         PRAYER
 2         Having fully answered the Complaint, DEFNDANTS pray as follows:
 3         1.    That PLAINTIFF BALBOA CAPITAL take nothing by way of this
 4 action and that judgment be rendered in favor of DEFENDANTS;
 5         2.    That DEFENDANTS be awarded their costs of suit incurred in their
 6 defense;
 7         3.    That DEFENDANTS be awarded their reasonable attorney’s fees
 8 incurred in connection with this action, pursuant to Cal. Civil Code § 1717(a).
 9         4.    For such other relief as the Court deems proper.
10
           Date: May 12, 2021
11
                                            FRANKLIN | SOTO LLP
12
13
                                            By: /s/ Cheryl Dunn Soto
14                                                 Joshua D. Franklin
15                                                 Cheryl Dunn Soto
16
17                                          Attorneys for Defendants Shaya Medical P.C.
                                            Inc. and Wissam Shaya, M.D.
18
19
20                                   COUNTERCLAIM
21                                      THE PARTIES
22         1.    Counterclaimant WISSAM SHAYA, M.D. (“DR. SHAYA”) is a
23 physician who is, and was at the time of the filing of the complaint, domiciled in the
24 State of Florida and, therefore, is deemed a citizen of the State of Florida.
25         2.    Counterclaimant SHAYA MEDICAL P.C. INC. (“SHAYA
26 MEDICAL”) is, and was at the time of the filing of the complaint, a Florida
27 corporation with its principal place of business in Jacksonville, Florida, and,
28 therefore, is deemed a citizen of the State of Florida. SHAYA MEDICAL is the
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 1 professional corporation owned by DR. SHAYA and through which DR. SHAYA
 2 practices medicine. Dr. SHAYA and SHAYA MEDICAL are collectively referred to
 3 herein as the “SHAYA PARTIES” or “COUNTERCLAIMANTS.”
 4         3.       Counter-defendant BALBOA CAPITAL CORPORATION (“BALBOA
 5 CAPITAL”) is, and was at the time of the filing of the complaint, a California
 6 corporation with its principal place of business located in the City of Costa Mesa,
 7 County of Orange, State of California, and, therefore, is deemed a citizen of the State
 8 of California.
 9         4.       Counter-defendant CYNOSURE, LLC, f/k/a Cynosure, Inc.
10 (“CYNOSURE”), is the manufacturer of the SculpSure device, a laser device
11 designed to treat fat deposits in the body. On information and believe, Defendant
12 Cynosure is a limited liability company whose sole member is Lotus Buyer, Inc., a
13 corporation that is incorporated and has its principal offices in Delaware. For
14 purposes of determining diversity jurisdiction, a limited liability company is a citizen
15 of every state of which its owners/members are citizens. See Johnson v. Columbia
16 Properties Anchorage, LP, 437 F.3d 894, 902 (9th Cir. 2006). And corporations are
17 citizens of the states in which they are incorporated and where they have their
18 principal place of business. See 28 U.S.C. § 1332(c). Cynosure is, accordingly, a
19 citizen of Delaware.
20         5.       On information and belief, COUNTER-DEFENDANTS were at all
21 times joint venturers and agents, servants, representatives, and/or associates of one
22 another and, in doing the things hereinafter alleged, were acting within the scope of
23 their authority as such, with the permission, knowledge, and consent of the other.
24                                      JURISDICTION
25         6.       The Court has supplemental jurisdiction over this compulsory
26 counterclaim. See 28 U.S.C. § 1367(a).
27         7.       Additionally, because COUNTERCLAIMANTS are citizens of the State
28 of Florida and COUNTER-DEFENDANTS are citizens of the States of California
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 1 and Delaware, there is complete diversity of citizenship under 28 U.S.C.
 2 § 1332(a)(1), and the requirement of diversity is satisfied.
 3         8.     Furthermore, the amount in controversy exceeds the sum of seventy-five
 4 thousand dollars ($75,000.00), exclusive of interest and costs, because the cross-
 5 complaint seeks, inter alia, rescission of a contract wherein the value of the object of
 6 the contract is more than $200,000.00.
 7         9.     Therefore, the Court has original jurisdiction over this counterclaim
 8 pursuant to 28 U.S.C. § 1332.
 9         10.    BALBOA CAPITAL is a California corporation with its principal place
10 of business in California and has initiated litigation in this district. Therefore, the
11 Court has personal jurisdiction over BALBOA CAPITAL.
12         11.    On information and belief, the Court has personal jurisdiction over
13 CYNOSURE because it conducts extensive business in California, including
14 extensive business with BALBOA CAPITAL in this district in connection with
15 securing financing for its customers in order to facilitate the purchase of
16 CYNOSURE’s medical equipment across the country, including the device that is the
17 subject collateral in this case. Accordingly, CYNOSURE purposefully availed itself
18 of the jurisdiction of this Court.
19                               GENERAL ALLEGATIONS
20         12.    Dr. SHAYA is a physician licensed to practice medicine in the State of
21 Florida. DR. SHAYA’s medical practice, SHAYA MEDICAL, is located in
22 Jacksonville, Florida. DR. SHAYA is a family practitioner who, like so many other
23 family practitioners these days, has struggled to keep open the doors of his practice.
24         13.    In late July or early August of 2019, DR. SHAYA and SHAYA
25 MEDICAL were first contacted by individuals who sought to sell them a
26 CYNOSURE SculpSure device, which is a laser device designed to treat fat deposits
27 in the body that sells for approximately $200,000. Over the course of the next few
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 1 weeks, DR. SHAYA was relentlessly pursued and subjected to high-pressure sales
 2 tactics in an attempt to get him to purchase the device.
 3         14.   DR. SHAYA was visited at SHAYA MEDICAL by at least five
 4 individuals on at least five different occasions. Sometimes these individuals would
 5 appear at SHAYA MEDICAL unannounced, and other times they would call to say
 6 they were in town and would be stopping by at noon that day, when they knew DR.
 7 SHAYA was likely to be available.
 8         15.   One individual in particular, Kristopher Huston, was intent on closing
 9 the sale and came to SHAYA MEDICAL to meet with DR. SHAYA on more than
10 one occasion, with the last occasion being August 23, 2019.
11         16.   On information and belief, Kristopher Huston, as well as the other
12 individuals who contacted DR. SHAYA about purchasing the SculpSure device, were
13 agents, employees, and/or representatives of both CYNOSURE and BALBOA
14 CAPITAL, and their statements to DR. SHAYA are properly imputed to, and binding
15 upon, both entities.
16         17.   Furthermore, on information and belief, Kristopher Huston, and possibly
17 the other individuals, received compensation, whether in the form of a commission or
18 otherwise, from both entities in connection with the SHAYA PARTIES’ purchase
19 and financing of the SculpSure device.
20         18.   Prior to agreeing to purchase the SculpSure device, DR. SHAYA, on
21 behalf of himself and SHAYA MEDICAL, repeatedly expressed to Kristopher
22 Huston and the others that, because he is a family practitioner and not a plastic
23 surgeon or a physician with an aesthetics practice, he was concerned that an
24 aesthetics device like the SculpSure device was not appropriate for his family practice
25 and would not work in such a practice.
26         19.   In response, Kristopher Huston and the others represented to DR.
27 SHAYA that the SculpSure device would work in DR. SHAYA’s family practice and
28 would produce much-needed revenue. They represented that the marketing
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 1 campaign, which was included in the purchase and which involved online marketing,
 2 open houses, social media, and other methods of attracting patients who would want a
 3 SculpSure treatment, would be effective. And they represented to DR. SHAYA that
 4 his clients would be satisfied with their results and would refer others, which would
 5 also generate revenue. Kristopher Huston made such promises and representations to
 6 DR. SHAY on, inter alia, August 23, 2019.
 7        20.    DR. SHAYA, on behalf of himself and SHAYA MEDICAL, also
 8 repeatedly expressed concerns about SHAYA MEDICAL’s financial condition and
 9 stated that he and SHAYA MEDICAL could not afford the SculpSure device.
10        21.    In response, Kristopher Huston and the others represented to DR.
11 SHAYA that SHAYA MEDICAL’s financial condition was all the more reason why
12 SHAYA MEDICAL should purchase the SculpSure device, because not only would
13 the device pay for itself but it would generate the additional revenue SHAYA
14 MEDICAL needed. Kristopher Huston made such promises and representations to
15 DR. SHAYA on, inter alia, August 23, 2019.
16        22.    In addition to repeatedly expressing the above concerns, DR. SHAYA,
17 on behalf of himself and SHAYA MEDICAL, inquired as to how much pain his
18 patients would experience with a SculpSure treatment and asked whether he could try
19 out the machine prior to purchasing. He was told that it was not an option for him to
20 try out the machine prior to purchasing but that the treatment would be painless.
21 Kristopher Huston made such promise and representations to DR. SHAYA on, inter
22 alia, August 23, 2019.
23        23.    Finally, on August 23, 2019, in response to DR. SHAYA’s reiteration of
24 the above-referenced concerns regarding a purchase of the SculpSure device, DR.
25 SHAYA was told by Kristopher Huston that there “was not a shred of doubt” that the
26 SculpSure device would be successful in DR. SHAYA’s practice. Kristopher Huston
27 also told DR. SHAYA “we have the financing covered” and presented DR. SHAYA
28 with BALBOA CAPITAL’s Equipment Financing Agreement (“EFA”) and
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 1 accompanying Guaranty as the way in which the SHAYA PARTIES would pay for
 2 the SculpSure device. When DR. SHAYA told Kristopher Huston that he could not
 3 read the EFA, which is printed in extremely small font, Kristopher Huston’s response
 4 was “trust me.” Because DR. SHAYA could not read the fine print, the SHAYA
 5 PARTIES were unaware that the EFA and Guaranty do not state the amount financed
 6 or the interest rate being charged and were also unaware of the extremely onerous
 7 nature of the terms of those documents.
 8         24.   The foregoing promises and representations of material fact made to DR.
 9 SHAYA including, inter alia, representations that (1) the SculpSure device would be
10 well-tolerated by the SHAYA PARTIES’ patients and impose minimal pain; (2) the
11 accompanying marketing campaign would be effective and result in the referral of
12 multiple patients per month; (3) the machine would “pay for itself,” i.e., it would
13 generate sufficient revenue to cover the payments on the machine; and (4) the
14 machine would generate additional, much-needed revenue – were intended to induce
15 DR. SHAYA and SHAYA MEDICAL to agree to purchase and finance the
16 SculpSure device.
17        25.    BALBOA CAPITAL and CYNOSURE, by and through their agents,
18 employees, and/or representatives, induced the SHAYA PARTIES to purchase and
19 finance the SculpSure device while knowing the promises and representations made
20 to the SHAYA PARTIES were, in fact, false.
21        26.    Based on such promises and representations, the SHAYA PARTIES
22 agreed to purchase the SculpSure device, marketing campaign, and a treatment
23 package and to finance it through BALBOA CAPITAL. Accordingly, DR. SHAYA
24 simultaneously executed the CYNOSURE Customer Purchase Agreement, and the
25 BALBOA CAPITAL EFA on SHAYA MEDICAL’s behalf. DR. SHAYA also
26 executed the accompanying Guaranty.
27        27.    The SHAYA PARTIES justifiably relied upon the promises and
28 representations made to them, which promises and representations induced the
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 1 SHAYA PARTIES to purchase the SculpSure device and to finance the purchase
 2 with BALBOA.
 3         28.   But the SHAYA PARTIES soon discovered the promises and
 4 representations made to them were untrue.
 5         29.   In fact, the CYNOSURE marketing campaign was ineffective, and the
 6 SculpSure device did not generate the much needed revenue that was promised. In
 7 fact, the device did not even pay for itself, i.e., did not cover the monthly payments,
 8 despite DR. SHAYA doing everything CYNOSURE asked him to do in terms of
 9 marketing.
10         30.   In order to ensure he was taking full advantage of the marketing
11 opportunities offered by CYNOSURE, DR. SHAYA even paid to attend a
12 CYNOSURE seminar in Las Vegas that amounted to little more than a sales pitch.
13 At the conference, a spokesperson for Cynosure, who did not realize DR. SHAYA
14 already owned the SculpSure device, warned him against purchasing the device and
15 told DR. SHAYA he himself owned the device but it sat unused in his basement.
16         31.   Furthermore, to DR. SHAYA’s dismay, his patients complained about
17 the intense pain they experienced during the treatment. In fact, after testing the
18 machine on himself and his staff and experiencing the pain firsthand, DR. SHAYA
19 invested in a nitrous machine in an attempt to alleviate the 25 minutes of extreme
20 discomfort he understood his patients to be suffering. DR. SHAYA’s patients also
21 complained about their results and, needless to say, they did not refer other patients to
22 DR. SHAYA as he had been told would happen.
23         32.   Finally, although DR. SHAYA was told that few physicians in town
24 would have the SculpSure device, he has since discovered the device was sold to
25 numerous physicians and medical practices in his immediate area. Several of them
26 have since confided in DR. SHAYA that they are similarly unable to make their
27 payments despite the promises that were made to them about the revenue the device
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 1 would generate, at least one of them has gone out of business, and one has declared
 2 bankruptcy.
 3        33.    On March 19, 2021, BALBOA CAPITAL issued an Acceleration
 4 Demand Letter stating it was “hereby accelerating and declaring immediately due and
 5 payable the entire unpaid balance of the Agreement together with all other
 6 obligations” and demanded $241,254.22 within 3 business days in addition to return
 7 of the equipment.
 8          BALBOA CAPITAL’s Violation of the California Financing Law
 9        34.    BALBOA CAPITAL is a finance lender within the meaning of Cal. Fin.
10 Code section 22009.
11        35.    Unbeknownst to the SHAYA PARTIES at the time, BALBOA
12 CAPITAL has approximately 33 Customer Reviews on the Better Business Bureau
13 (“BBB”) website, and each of them is a one-star (out of five stars) review.
14        36.    BALBOA CAPITAL loaned money to SHAYA MEDICAL in order to
15 purchase the SculpSure device for use in a medical practice. Thus, the proceeds were
16 intended to be used for other than personal, family or household purposes such that
17 the loan transaction embodied in the EFA meets the definition of “commercial loan”
18 under Cal. Fin. Code section 22502.
19        37.    Kristopher Huston and/or CYNOSURE introduced the SHAYA
20 PARTIES to BALBOA CAPITAL and/or delivered to BALBOA CAPITAL the
21 SHAYA PARTIES’ contact information within the meaning of Cal. Fin. Code
22 Section 22602(g).
23        38.    On information and belief, Kristopher Huston and/or CYNOSURE never
24 performed underwriting and never obtained documentation to ensure SHAYA
25 MEDICAL would have sufficient monthly gross revenue with which to repay the
26 loan pursuant to the loan terms and, therefore, made the loan even though SHAYA
27 MEDICAL’s total monthly expenses, including debt service payments on the loan,
28 would exceed its monthly gross revenue.
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 1         39.   Additionally, because SHAYA MEDICAL is a corporation and the loan
 2 was to be secured by a personal guaranty provided by DR. SHAYA, the owner of the
 3 corporation, a credit report from at least one consumer credit reporting agency was
 4 supposed to be considered before the loan was made. See Cal. Fin. Code
 5 § 22602(3)(B). But, on information and belief, no such report was considered.
 6         40.   On information and belief, at that time, neither Kristopher Huston nor
 7 CYNOSURE was licensed pursuant to Division 9 of the California Financial Code.
 8         41.   On information and belief, Kristopher Huston and/or CYNOSURE
 9 received compensation, whether in the form of a commission or other compensation,
10 from BALBOA CAPITAL in connection with the referral of the SHAYA PARTIES
11 to BALBOA CAPITAL despite lack of compliance with Cal. Fin. Code Section
12 22602(a)(3)(B).
13         42.   Because, on information and belief, Kristopher Huston and/or
14 CYNOSURE were unlicensed and failed to perform underwriting and obtain the
15 necessary documentation, it was a violation of Cal. Fin. Code section 22602(a) for
16 BALBOA CAPITAL to compensate them.
17         43.    Because, on information and belief, BALBOA CAPITAL paid
18 compensation to Kristopher Huston and/or CYNOSURE, unlicensed parties under
19 Division 9 of the California Financial Code, in connection with the referral of the
20 SHAYA PARTIES, BALBOA CAPITAL is liable for all misrepresentations made to
21 the SHAYA PARTIES in connection with that loan pursuant to Cal. Fin. Code
22 section 22602(b).
23                             FIRST CLAIM FOR RELIEF
24                           (Unfair Competition in Violation of
25                 Business and Professions Code section 17200, et seq.)
26                               (As to BALBOA CAPITAL)
27         44.   Paragraphs 1 through 43, above, are realleged and incorporated here by
28 reference, as though fully set forth herein.
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 1         45.   Business and Professions Code section 17200, et seq. (the Unfair
 2 Competition Law or UCL) prohibits, inter alia, any unlawful, unfair, or fraudulent
 3 business acts or practices. BALBOA CAPITAL has engaged in the following
 4 unlawful, unfair, or fraudulent business acts or practices:
 5         Cal. Fin. Code Section 22161
 6         46.   Cal. Fin. Code section 22161, which is part of the California Financing
 7 Law, forbids lenders from, inter alia, (1) making a materially false or misleading
 8 statement or representation to a borrower about the terms or conditions of that
 9 borrower's loan, when making or brokering the loan; (2) causing or permitting to be
10 printed, displayed, published, distributed, or broadcast in any manner, any statement
11 or representation with regard to the business subject to the provisions of this division,
12 including the rates, terms, or conditions for making or negotiating loans, that is false,
13 misleading, or deceptive, or that omits material information that is necessary to make
14 the statements not false, misleading, or deceptive; (3) knowingly misrepresenting,
15 circumventing, or concealing, through subterfuge or device, any material aspect or
16 information regarding a transaction to which the person is a party; and (4) committing
17 an act that constitutes fraud or dishonest dealings.
18         47.   As alleged herein, BALBOA CAPITAL, a finance lender, has violated
19 Cal. Fin. Code section 22161.
20         Cal. Fin. Code Sections 22602(a) and 22603
21         48.   Cal. Fin. Code section 22602(a) provides that unlicensed persons may be
22 compensated by a finance lender for referring a borrower to the licensee only when
23 various conditions are met.
24         49.   On information and belief, Kristopher Huston and CYNOSURE are
25 unlicensed for purposes of section 22602.
26         50.   Despite being unlicensed, Kristopher Huston and CYNOSURE engaged
27 in the following activities in violation of Cal. Fin. Code section 22602(c):
28 (1) counseling or advising the borrower about the loan; (2) contacting the licensee on
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 1 behalf of the borrower other than to refer the borrower; (3) gathering loan
 2 documentation from the borrower or delivering the documentation to the licensee;
 3 (4) communicating lending decisions or inquiries to the borrower; (5) obtaining the
 4 borrower’s signature on documents.
 5         51.    As alleged herein, on information and belief, BALBOA CAPITAL, a
 6 finance lender, paid commissions to such unlicensed persons, in violation of section
 7 22602(a)(3)(B).
 8         52.    Furthermore, BALBOA CAPITAL never provided a written statement to
 9 the SHAYA PARTIES regarding the referral, in violation of Cal. Fin. Code section
10 22603.
11         Cal. Fin. Code Section 22802(b)
12         53.    Cal. Fin. Code section 22802 requires a lender to disclose to a loan
13 recipient at the time of extending a specific commercial financing offer to that
14 recipient, and to obtain the recipient’s signature on such a disclosure before
15 consummating the commercial financing transaction, inter alia: (1) the total amount
16 of funds provided; (2) the total dollar cost of the financing; (3) a description of pre-
17 payment policies; (4) and the total cost of the financing expressed as an annualized
18 rate.
19         54.    As alleged herein, BALBOA CAPITAL, a lender, violated Section 22802(b)
20 by failing to disclose, inter alia, (1) the total amount of funds provided; (2) the total
21 dollar cost of the financing; (3) a description of pre-payment policies; (4) and the total
22 cost of the financing expressed as an annualized rate.
23         55.    As a result of BALBOA CAPITAL’s many acts that are unlawful,
24 deceptive, and/or otherwise unfair, as specified above, the SHAYA PARTIES have
25 been injured and are, therefore, entitled to an order for all available relief, including
26 restitution and injunctive relief, as appropriate.
27 / / /
28 / / /
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 1                            SECOND CLAIM FOR RELIEF
 2                                          Fraud
 3                     (As to BALBOA CAPITAL and CYNOSURE)
 4        56.    Paragraphs 1 through 55, above, are realleged and incorporated here by
 5 reference, as though fully set forth herein.
 6        57.    BALBOA CAPITAL and CYNOSURE misrepresented or concealed
 7 material facts to the SHAYA PARTIES when they represented, inter alia, that (1) the
 8 SculpSure device would not cause any pain to patients; (2) the SculpSure device
 9 would provide satisfactory results, which would lead to referrals from satisfied
10 patients; (3) the marketing campaign that was purchased was effective and would be
11 effective for the SHAYA PARTIES; (4) the machine would “pay for itself,” i.e., it
12 would generate sufficient revenue to cover the payments on the machine; and (5) the
13 machine would generate additional, much-needed revenue. On information and
14 belief, such representations, which involved a matter peculiarly within the knowledge
15 of BALBOA CAPITAL and CYNOSURE, were intended as representations of fact.
16 And, in fact, such representations were accepted by the SHAYA PARTIES as
17 representations of fact because they were peculiarly within the knowledge of
18 BALBOA CAPITAL and CYNOSURE.
19        58.    But such representations were false. The SculpSure device causes
20 significant pain during the course of a treatment and, on information and belief,
21 produces minimal results, thereby leading to unhappy and unsatisfied patients.
22 Therefore, despite the marketing campaign offered by CNYOSURE, the device does
23 not generate the significant revenue needed to cover the cost of financing the device,
24 let alone additional revenue.
25        59.    On information and belief, by August 2019, COUNTER-
26 DEFENDANTS knew such representations of material fact were false when made or
27 made the representations recklessly and without regard for their truth. Specifically,
28 COUNTER-DEFENDANTS had received feedback prior to August 2019 that the
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 1 SculpSure device was not painless as the result of, inter alia, physician complaints
 2 and expert testimony in at least one lawsuit regarding the device. And COUNTER-
 3 DEFENDANTS knew the device would not pay for itself because BALBOA
 4 CAPITAL had already filed multiple lawsuits against physicians who, it was alleged,
 5 had defaulted under Equipment Financing Agreements entered into for the purpose of
 6 financing the purchase of SculpSure devices. The fact that multiple physicians
 7 defaulted under identical Equipment Financing Agreements apprised BALBOA
 8 CAPITAL and CYNOSURE that such physicians were not realizing significant
 9 additional revenue from the SculpSure device and, in fact, that the device was not
10 “paying for itself.” In light of COUNTER-DEFENDANTS’ multiple disputes with
11 other physicians and knowledge that multiple physicians had defaulted under
12 identical Equipment Financing Agreements, neither BALBOA CAPITAL nor
13 CYNOSURE believed at the time of their representations to the SHAYA PARTIES
14 that the SculpSure device would generate additional revenue for the SHAYA
15 PARTIES or pay for itself.
16         60.   BALBOA CAPITAL and CYNOSURE misrepresented or concealed
17 such material facts with an intent to induce reliance by the SHAYA PARTIES.
18         61.   The SHAYA PARTIES reasonably and justifiably relied on COUNTER-
19 DEFENDANTS’ misrepresentations or concealment of material facts.
20         62.   The SHAYA PARTIES were harmed, and their reliance on COUNTER-
21 DEFENDANTs’ representations was a substantial factor in causing such harm.
22                             THIRD CLAIM FOR RELIEF
23                                       (Rescission)
24                               (As to BALBOA CAPITAL)
25         63.   Paragraphs 1 through 62, above, are realleged and incorporated here by
26 reference, as though fully set forth herein.
27         64.   The SHAYA PARTIES are entitled to rescission of the BALBOA
28 CAPITAL EFA and Guaranty because their consent was given as the result of a
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 1 mutual mistake of material fact and/or obtained through fraud, duress, and/or undue
 2 influence exercised by, or with the connivance of, BALBOA CAPITAL.
 3         65.   As a direct result of BALBOA’s acts, the SHAYA PARTIES have
 4 incurred actual damages, which they are entitled to recover.
 5                            FOURTH CLAIM FOR RELIEF
 6                                       (Rescission)
 7                                   (As to CYNOSURE)
 8         66.   Paragraphs 1 through 62, above, are realleged and incorporated here by
 9 reference, as though fully set forth herein.
10         67.   The SHAYA PARTIES are entitled to rescission of the CYNOSURE
11 Customer Purchase Agreement because their consent was given as the result of a
12 mutual mistake of material fact and/or obtained through fraud, duress, and/or undue
13 influence exercised by, or with the connivance of, CYNOSURE.
14         68.   As a direct result of CYNOSURE’s acts, the SHAYA PARTIES have
15 incurred actual damages, which they are entitled to recover.
16                             FIFTH CLAIM FOR RELIEF
17                                    Declaratory Relief
18                               (As to BALBOA CAPITAL)
19         69.   Paragraphs 1 through 62, above, are realleged and incorporated here by
20 reference, as though fully set forth herein.
21         70.   An actual controversy has arising and now exists between the SHAYA
22 PARTIES and BALBOA CAPITAL concerning the enforceability of the EFA and, in
23 particularly, its unconscionability. The SHAYA PARTIES assert that the EFA, in
24 whole or in part, is unconscionable. On information and belief, it is BALBOA
25 CAPITAL’s position that the EFA is not unconscionable in whole or in part.
26         71.   The SHAYA PARTIES seek a declaration that the EFA is
27 unconscionable in whole or in part.
28
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 1        72.    A declaratory judgment is necessary to resolve the controversy between
 2 the SHAYA PARTIES and BALBOA CAPITAL regarding the unconscionability of
 3 the EFA.
 4        73.    The requested relief will resolve the controversy between the parties.
 5                                JURY TRIAL DEMAND
 6        74.    The SHAYA PARTIES demand trial by jury on all triable issues.
 7                                        PRAYER
 8        WHEREFORE, counter-claimants demand judgment against Balboa Capital
 9 Corporation as follows:
10        1.     For general, compensatory, and consequential damages;
11        2.     For reasonable attorney fees pursuant to Cal. Civil Code § 1717(a);
12        3.     For interest at the highest legal rate commencing from the earliest date
13 allowed by law;
14        4.     For costs of suit; and
15        5.     For such other and further relief as the Court deems just and proper,
16 together with costs and disbursements of this action.
17
     Dated:      May 12, 2021              Respectfully submitted,
18
19
                                           FRANKLIN | SOTO LLP
20
21
22                                         /s/ Cheryl Dunn Soto
23                                         Joshua D. Franklin
                                           Cheryl Dunn Soto
24
25                                         Attorneys for Defendants and
26                                         Counterclaimants Shaya Medical P.C. Inc.
                                           and Wissam Shaya, M.D.
27
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